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July 18, 2023

Hon. Lorna G. Schofield
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse, 40 Foley Square
New York, NY 10007

Re:         Loomis Sayles Trust Company, LLC v. Citigroup Global Markets Inc., 22-cv-6706-LGS

Dear Judge Schofield:
         Pursuant to Rule I.D.3 of Your Honor’s Individual Rules and Procedures for Civil Cases
and the Stipulated Protective Order for Confidential Information (Dkt. No. 40), Plaintiff Loomis
Sayles Trust Company, LLC (“LSTC”) respectfully submits this letter regarding
supplementation of the record in connection Citigroup’s as-converted summary judgment motion
to be filed under seal. LSTC has publicly filed a redacted version of its letter brief.

       The letter brief references documents and deposition testimony that has been designated
as “Confidential” by Citigroup pursuant to the Protective Order entered in this matter on
November 21, 2022 (Dkt. No. 40). LSTC seeks to file under seal based on Citigroup’s
confidential designations.




                                                 Respectfully submitted,


                                                 /s/ Matthew C. Baltay




      cc:    Counsel of Record (via ECF)




       ATTORNEYS AT LAW                             BOSTON | NEW YORK | PARIS | WASHINGTON | FOLEYHOAG.COM
